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               DOCUMENT 46
            PUBLIC VERSION
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           EXHIBIT 28
 EXHIBIT FILED UNDER SEAL
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     Date:                   Friday, November 5 2021 10:42 PM
     Subject:                RE: Project Wedge Social Media Monitoring 5 November 21
     From:                   Padraic Riley <
                             Luke Devlin                         >; Greg Norman <                                                                                      >; Jed Moore
                             <                                >; Gary Davidson <                                                                                      >; Scott Peddie
                             <                                  >; Maria O'Connor <                                                                                       >; Jane
     To:                     MacNeille <                                       >; Meshari AIOtaibi <                                                                  >; Kevin Foster
                             <                  >; Mohammed ALShiha <                           >; Alex Oberberg
                             <                      >; Jacobo Solis <                 >; Marwan Bakrali <                                                                         >;
                             Rupert Trefgarne <                       >; Richard Marsh <                                                                                         >;
     CC:                     Michael Osborne <                                                        >;
     Attachments: Project Wedge Social Monitoring 11 5 pm.pdf


    Please see attached the afternoon social media report. We would note a bit of an increase in negative sentiment, but it
    remains ata low comparative level.

    We will keep an eye on things over the weekend as today's announcements gain traction.


    Teneo


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